                Case 2:14-cr-00097-DC Document 88 Filed 01/14/15 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     MELISSSA TORRES
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                       )       No. CR-S-14-097 MCE
                                                     )
10
                                                     )
             Plaintiff,                              )       AMENDED STIPULATION REGARDING
11
                                                     )       EXCLUDABLE TIME PERIODS
     v.                                              )       UNDER SPEEDY TRIAL ACT;
12
                                                     )       FINDINGS AND ORDER
     TORRES et al.,                                  )
13
                                                     )       Date: March 26, 2015
                                                     )       Time: 9:00 a.m.
14           Defendants.                             )       Judge: Honorable Morrison C. England, Jr.
                                                     )
15
                                                     )
                                                     )
16

17           The United States of America through its undersigned counsel, Christiaan Highsmith,
18
     Assistant United States Attorney, together with counsel for defendant Melissa Torres, John R.
19
     Manning, Esq., counsel for defendant Sally Evans, James R. Greiner, Esq., and counsel for
20
     defendant Jorge Magana, Philip Cozens, Esq., hereby stipulate the following (counsel for Mr.
21

22   Torres has indicated Mr. Torres would like to remain on the court's 1/15/15 calendar for a change

23   of plea hearing):
24
          1. By previous order, this matter was set for status conference on January 15, 2015.
25
          2. By this stipulation, defendants now moves to continue the status conference until March
26
     26, 2015 and to exclude time between January 15, 2015 and March 26, 2015 under the Local
27

28   Code T-4 (to allow defense counsel time to prepare).



                                                         1
                 Case 2:14-cr-00097-DC Document 88 Filed 01/14/15 Page 2 of 3


           3. The parties agree and stipulate, and request the Court find the following:
 1

 2            a. Currently, the government has provided in excess of 150 pages of discovery as well

 3                as 20 DVDs with video.
 4
              b. Counsel for the defendants need additional time to review the discovery, conduct
 5
                  investigation, and interview potential witnesses.
 6

 7
              c. Counsel for defendants believe the failure to grant a continuance in this case would

 8                deny defense counsel reasonable time necessary for effective preparation, taking into
 9                account the exercise of due diligence.
10
              d. The government does not object to the continuance.
11
              e. Based on the above-stated findings, the ends of justice served by granting the
12

13                requested continuance outweigh the best interests of the public and the defendants in

14                a speedy trial within the original date prescribed by the Speedy Trial Act.
15
              f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
16
                  Section 3161(h)(7)(A) within which trial must commence, the time period of January
17
                  15, 2015, to March 26, 2015, inclusive, is deemed excludable pursuant to 18 United
18

19                States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code T-4

20                because it results from a continuance granted by the Court at the defendants' request
21
                  on the basis of the Court’s finding that the ends of justice served by taking such
22
                  action outweigh the best interest of the public and the defendants in a speedy trial.
23
     ///
24

25   ///

26   ///
27
     ///
28




                                                        2
                Case 2:14-cr-00097-DC Document 88 Filed 01/14/15 Page 3 of 3



 1

 2     4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the

 3          Speedy Trial Act dictate that additional time periods are excludable from the period within
 4
            which a trial must commence.
 5
     IT IS SO STIPULATED.
 6

 7

 8   Dated: January 7, 2015                                        /s/ John R. Manning
                                                                  JOHN R. MANNING
 9                                                                Attorney for Defendant
10
                                                                  Melissa Torres

11   Dated: January 7, 2015                                        /s/ James R. Greiner
                                                                  JAMES R. GREINER
12
                                                                  Attorney for Defendant
13                                                                Sally Evans

14   Dated: January 8, 2015                                        /s/ Philip Cozens
                                                                  PHILIP COZENS
15
                                                                  Attorney for Defendant
16                                                                Jorge Magana

17

18
     Dated: January 7, 2015                                       Benjamin B. Wagner
19                                                                United States Attorney

20                                                                by:/s/ Christiaan Highsmith
                                                                  CHRISTIAAN HIGHSMITH
21
                                                                  Assistant U.S. Attorney
22

23          IT IS SO ORDERED.

24   DATED: January 14, 2015
25
                                               _____________________________________________
26                                             MORRISON  N C. ENGLLAND, JR, C
                                                                            CHIEF JUDG  GE
                                               UNITED ST TATES DISSTRICT COU  URT
27

28




                                                      3
